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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )       No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

          DEFENDANTS’ RESPONSE TO THE COURT’S MAY 7, 2025 ORDER

        On May 7, 2025, this Court ordered each party to “submit a memorandum. . . addressing

whether [the Department of Defense] should be joined as a party in this case.” ECF No. 93.

Defendants respectfully submit this response. The Department of Defense (“DoD”) should not be

joined as a party in this case.

        Federal courts possess the authority to add and remove parties, see Fed. R. Civ. P. 21, but

it is Plaintiffs’ responsibility to control the scope of their complaint, and the Court should not take

on that role in these circumstances. See, e.g., United States v. Torres-Rosa, 209 F.3d 4 (1st Cir.

2000) (concluding that it is not the court’s obligation “to do counsel’s homework”); Kauthar SDN

BHD v. Sternberg, 149 F.3d 659, 668 (7th Cir. 1998) (“It is not the obligation of this court to

research and construct the legal arguments open to parties, especially when they are represented

by counsel.”) (citation omitted); see also United States v. Sineneng-Smith, 590 U.S. 371, 375

(2020) (Courts “rely on the parties to frame the issues for decision and assign to courts the role of

neutral arbiter of matters the parties present.”). Plaintiffs are “the master of the complaint,” and

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therefore control much about their lawsuit. Caterpillar Inc. v. Williams, 482 U. S. 386, 398-399

(1987). They could amend their complaint to include DoD, if that is in their interest, see Fed. R.

Civ. P. 15(a)(1)(B), subject to appropriate defenses under the federal rules. See Fed. R. Civ. P. 12.

But that has not happened to date.

       Instead, Plaintiffs’ existing suit seeks “to challenge the policy or practice of the Department

of Homeland Security (DHS) of deporting, or seeking to deport, them to a third country – a country

never designated for removal – without first providing them with notice or opportunity to contest

removal[.]” ECF No. 1 at ¶ 1. The operative Complaint contains no factual allegations or legal

claims regarding DoD or any government officials other than those at DHS. See Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 103 (1998) (plaintiff must show “a fairly traceable

connection between the plaintiff’s injury and the complained-of conduct of the defendant”).

Moreover, Plaintiffs have neither moved to amend their Complaint pursuant to Fed. R. Civ. P. 15

nor sought to join DoD as a defendant under Rules 18-19. See Royal Canin U.S.A., Inc. v.

Wullschleger, 604 U.S. 22, 35 (2025) (noting that a plaintiff “gets to determine which substantive

claims to bring against which defendants”). To the extent that Plaintiffs wish to bring legal claims

against DoD, they must either act to amend their Complaint or file a new lawsuit. Accordingly,

the Court should not sua sponte add DoD as a party to this case.

       To the extent this Court had concerns about the actions of the Defense Department in

relation to a prior injunctive order, those concerns have been fully addressed prospectively by its

order issued to the actual defendant in this suit, DHS. In that order, this Court imposed the

requirement on DHS that “prior to removing, or allowing or permitting another agency to remove,

an alien from Guantanamo Bay to a third country, Defendants must comport with the terms of the

April 18, 2025 preliminary injunction by providing the due-process guarantees set forth in Dkt. 64



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at 46-47.” ECF No. 86 (emphasis added). That order is tailored to the relief sought by Plaintiffs—

limitations on third country removals under the immigration laws, Title 8 of the U.S. Code, of a

class of plaintiffs subject to Title 8 removal orders. DoD does not independently operate with Title

8 authority. DoD operates the U.S. Naval Station Guantanamo Bay (NSGB) in Guantanamo Bay,

Cuba, and in that capacity operates flights to and from the Naval Station. See ECF No. 72-1 at

¶¶ 11-12, 17-18, 26-27, 50-51. This case does not challenge DoD’s armed forces mission at NSGB

or its authority to operate the NSGB. And properly constructed relief against DHS has already

prospectively addressed the concerns identified by Plaintiffs. Thus, it is not necessary to add DoD

as a defendant to provide complete relief to the class regarding the implementation of Title 8, and

there is no need to join DoD as a party in this action.



Dated: May 14, 2025                                   Respectfully submitted,

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                                                      Deputy Assistant Attorney General

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                                                      Assistant Director

                                                      /s/Matthew P. Seamon
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                                CERTIFICATE OF SERVICE

        I, Matthew Seamon, Senior Litigation Counsel, hereby certify that this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

                                                    /s/ Matthew P. Seamon
                                                    Matthew P. Seamon
Dated: May 14, 2025                                 Senior Litigation Counsel




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